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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION


UNITED STATES OF AMERICA                                                   PLAINTIFF

VS.                           NO. 4:14CR248-11-BSM

SARAH BETH ROSE                                                          DEFENDANT


                                       ORDER

      Pending before the Court is a motion for issuance of summons and for revocation

of pretrial release. (Docket entry #243) For good cause shown, the motion for issuance

of summons is GRANTED. The Clerk is directed to issue summons and deliver to the

United States Marshal for service upon Defendant Sarah Beth Rose for appearance at a

hearing before United States Magistrate Judge Beth Deere on June 3, 2015, at 2:00 p.m.

to show cause why her pretrial release should not be revoked.

IT IS SO ORDERED this 27th day of May, 2015.



                                         ____________________________________
                                         UNITED STATES MAGISTRATE JUDGE
